           23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 1 of 16

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Early Bird Pediatric Therapy Clinic, Inc.



    2. All other names debtor used                Early Bird Pediatric Therapy
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      1 – 1     4   4    0   3    3   1
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   1351 N. Zaragoza Bldg. G
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                   El Paso, TX 79936
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   El Paso                                                      Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)                     www.earlybirdtherapy.com



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
          23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 2 of 16

Debtor      Early Bird Pediatric Therapy Clinic, Inc.                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business               ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ❑ None of the above
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    6     2   1   3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V               ✔
                                                        ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                           operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        ✔
                                                        ❑    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                             debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                             proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                             balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                             any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        ❑    A plan is being filed with this petition.

                                                        ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                             accordance with 11 U.S.C. § 1126(b).
                                                        ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                             (Official Form 201A) with this form.
                                                        ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                        When                    Case number
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a                         District                                     When                     Case number
     separate list.                                                                                             MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                  Relationship

     List all cases. If more than 1, attach a               District                                                              When
     separate list.                                                                                                                             MM / DD / YYYY
                                                            Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
            23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 3 of 16

Debtor        Early Bird Pediatric Therapy Clinic, Inc.                                                              Case number (if known)
             Name


  11. Why is the case filed in this         Check all that apply:
      district?
                                            ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            ❑
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                            ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have           ✔ No
                                            ❑
      possession of any real
      property or personal property
                                            ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                                Why does the property need immediate attention? (Check all that apply.)
      attention?                                          ❑   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?


                                                          ❑   It needs to be physically secured or protected from the weather.
                                                          ❑   It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                              (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                              options).
                                                          ❑   Other
                                                          Where is the property?
                                                                                   Number         Street




                                                                                   City                                           State       ZIP Code
                                                          Is the property insured?
                                                          ❑ No
                                                          ❑ Yes.      Insurance agency
                                                                      Contact name
                                                                      Phone

          Statistical and administrative information

         13. Debtor’s estimation of         Check one:
             available funds?               ❑ Funds will be available for distribution to unsecured creditors.
                                            ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                            ❑
                                               creditors.

         14. Estimated number of
                                             ✔
                                             ❑    1-49 ❑ 50-99                     ❑      1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                       ❑    100-199 ❑        200-999         ❑      10,001-25,000                       ❑    More than 100,000


         15. Estimated assets                ❑    $0-$50,000                         ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                             ❑    $50,001-$100,000                   ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                             ❑    $100,001-$500,000                  ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                             ✔
                                             ❑    $500,001-$1 million                ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
            23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 4 of 16

Debtor        Early Bird Pediatric Therapy Clinic, Inc.                                                              Case number (if known)
             Name



                                             ❑    $0-$50,000                            ✔
                                                                                        ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                             ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                             ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                             ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of             petition.
             debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is true
                                                      and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     03/31/2023
                                                                     MM/ DD/ YYYY



                                                 ✘ /s/ Jane Concha                                                      Printed name
                                                                                                                                            Jane Concha
                                                     Signature of authorized representative of debtor


                                                     Title                         Director



         18. Signature of attorney
                                                 ✘                        /s/ Robert C Lane                             Date      03/31/2023
                                                                                                                                  MM/ DD/ YYYY
                                                     Signature of attorney for debtor



                                                      Robert C Lane
                                                     Printed name

                                                      The Lane Law Firm
                                                     Firm name

                                                      6200 Savoy Dr Ste 1150
                                                     Number          Street


                                                      Houston                                                              TX              77036-3369
                                                     City                                                                 State            ZIP Code



                                                      (713) 595-8200                                                        notifications@lanelaw.com
                                                     Contact phone                                                         Email address



                                                      24046263                                                              TX
                                                     Bar number                                                            State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
          23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 5 of 16
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                                 $508,403.57
                 b. Total debts (including debts listed in 2.c., below)                                                        $2,495,804.75
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Occupational, Speech, Physical Therapy and ABA for children from birth to twenty
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
           23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 6 of 16


 Fill in this information to identify the case:

 Debtor name                    Early Bird Pediatric Therapy Clinic, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
         ❑     Other document that requires a declaration Voluntary Petition




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     03/31/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Jane Concha
                                                                                Signature of individual signing on behalf of debtor


                                                                                Jane Concha
                                                                                Printed name


                                                                                Director
                                                                                Position or relationship to debtor



Official Form B202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
            23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 7 of 16

 Fill in this information to identify the case:

 Debtor name                    Early Bird Pediatric Therapy Clinic, Inc.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     American Express                                                        Line of Credit                                                                       $15,008.00
      Bankruptcy Unit
      PO Box 297817
      Fort Lauderdale, FL 33329

2     AP Advance Group LLC                                                    Merchant Cash           Disputed                                                     $42,475.00
      1517 E 2nd St.                                                          Advance
      Brooklyn, NY 11230


3     Avion Funding, LLC                                                      Merchant Cash           Disputed                                                    $149,900.00
      101 Chase Ave. Ste. 208                                                 Advance
      Lakewood, NJ 08701


4     Bank of America                                                         Credit Card                                                                          $92,113.59
      4161 Piedmont Parkway
      Attn: Bankruptcy Dept.
      Greensboro, NC 27420-6012

5     Bank of America                                                         Employee Credit                                                                      $25,504.04
      ATTN: Bankruptcy Dept                                                   Card
      4161 Piedmont Parkway
      Greensboro, NC 27420-6012

6     Bank of America                                                         Employee Credit                                                                      $13,241.75
      Attn: Bankruptcy Dept.                                                  Card
      NC4-105-03-14
      4161 Piedmont Parkway
      Greensboro, NC 27420-6012
7     Funding Circle                                                          Merchant Cash           Disputed                                                    $132,858.95
      707 17th Street Suite 2200                                              Advance
      Denver, CO 80202


8     Intuit Financing Inc.                                                   Business Loan           Disputed                                                    $140,985.69
      2700 Coast Ave
      Mountain View, CA 94043



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
           23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 8 of 16

Debtor       Early Bird Pediatric Therapy Clinic, Inc.                                                          Case number (if known)
             Name

    Name of creditor and complete          Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code    and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                           creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                            professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                            services, and           or disputed      for value of collateral or setoff to calculate
                                                                            government                               unsecured claim.
                                                                            contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                     partially          value of         claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
9     Kabbage Funding                                                       Business Loan           Disputed                                                 $15,288.00
      925B Peachtree Street NE Suite
      1688
      Atlanta, GA 30309

10 Kabbage Funding                                                          Business Loan           Disputed                                                 $14,784.00
   925B Peachtree Street NE Suite
   1688
   Atlanta, GA 30309

11 Kabbage Funding                                                          Business Loan           Disputed                                                 $14,715.00
   925B Peachtree Street NE Suite
   1688
   Atlanta, GA 30309

12 Kabbage Funding                                                          Business Loan           Disputed                                                 $13,888.00
   925B Peachtree Street NE Suite
   1688
   Atlanta, GA 30309

13 LoanBuilder PayPal                                                       Business Loan           Disputed                                               $279,283.87
   3505 Silverside Rd.
   Wilmington, DE 19810


14 National Funding, Inc.                                                   Merchant Cash           Disputed                                               $258,000.20
   9820 Town Centre Drive                                                   Advance
   San Diego, CA 92121


15 National Funding, Inc.                                                   Merchant Cash           Disputed                                               $193,499.92
   9820 Town Centre Drive                                                   Advance
   San Diego, CA 92121


16 Spartan Business Solutions, LLC                                          Merchant Cash           Disputed                                                 $37,475.00
   d/b/a Spartan Capital                                                    Advance
      371 E Main St. Suite 2
      Middletown, NY 10940

17 Velocity Capital Group                                                   Merchant Cash           Disputed                                               $177,500.00
   333 Pearsall Ave. Suite 105                                              Advance
   Cedarhurst, NY 11516


18 Vox Funding                                                              Merchant Cash           Disputed                                               $170,000.00
   14 E. 44th Street 4th Floor                                              Advance
   New York, NY 10017


19 White Road Capital LLC d/b/a                                             Merchant Cash           Disputed                                               $500,000.00
   GFE Holdings                                                             Advance
      27-01 Queens Plaza North 802
      Long Island City, NY 11101

20 Zahav Asset Management LLC                                               Merchant Cash           Disputed                                               $149,900.00
   234 Cedarhurst Ave. Apt. 21B                                             Advance
   Cedarhurst, NY 11516


Official Form 204                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
        23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 9 of 16


B2030 (Form 2030) (12/15)


                                                             United States Bankruptcy Court
                                                                                   Western District of Texas

In re         Early Bird Pediatric Therapy Clinic, Inc.

                                                                                                                            Case No.

Debtor                                                                                                                      Chapter                      11


                                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.       Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
         or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

         For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                      $47,500.00

         Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                     $35,035.00

         Balance Due ................................................................................................................................................    $12,465.00

2.       The source of the compensation paid to me was:

         ✔ Debtor
         ❑                                ❑ Other (specify)
3.       The source of compensation to be paid to me is:

         ✔ Debtor
         ❑                                ❑ Other (specify)
4.       ✔
         ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
         law firm.

         ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
         law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                 bankruptcy;

         b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                   Page 1 of 2
   23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 10 of 16


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        03/31/2023                                              /s/ Robert C Lane
                Date                                         Robert C Lane
                                                             Signature of Attorney
                                                                                            Bar Number: 24046263
                                                                                                The Lane Law Firm
                                                                                           6200 Savoy Dr Ste 1150
                                                                                           Houston, TX 77036-3369
                                                                                            Phone: (713) 595-8200
                                                                                               Fax: (713) 595-8201

                                                                               The Lane Law Firm
                                                            Name of law firm




                                                                 Page 2 of 2
 23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 11 of 16

                                                   IN THE UNITED STATES BANKRUPTCY COURT
                                                          WESTERN DISTRICT OF TEXAS
                                                               EL PASO DIVISION

IN RE: Early Bird Pediatric Therapy Clinic, Inc.                                       CASE NO

                                                                                       CHAPTER 11




                                                    VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       03/31/2023            Signature                                  /s/ Jane Concha
                                                                           Jane Concha, Director
     23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 12 of 16


AMERICAN EXPRESS
BANKRUPTCY UNIT
PO BOX 297817
FORT LAUDERDALE, FL 33329



AP ADVANCE GROUP LLC
1517 E 2ND ST.
BROOKLYN, NY 11230




AVION FUNDING, LLC
101 CHASE AVE. STE. 208
LAKEWOOD, NJ 08701




BANK OF AMERICA
4161 PIEDMONT PARKWAY
ATTN: BANKRUPTCY DEPT.
GREENSBORO, NC 27420-6012



BANK OF AMERICA
ATTN: BANKRUPTCY DEPT
4161 PIEDMONT PARKWAY
GREENSBORO, NC 27420-6012



BANK OF AMERICA
ATTN: BANKRUPTCY DEPT.
NC4-105-03-14
4161 PIEDMONT PARKWAY
GREENSBORO, NC 27420-6012


CADDIS
5910 N. CENTRAL EXPRESSWAY SUITE
1400
DALLAS, TX 75206



JANE CONCHA
431 EMERALD SHORE LANE
EL PASO, TX 79928
     23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 13 of 16


EARLY BIRD PEDIATRIC
THERAPY CLINIC, INC.
1351 N. ZARAGOZA BLDG. G
EL PASO, TX 79936



FUNDING CIRCLE
707 17TH STREET SUITE 2200
DENVER, CO 80202




INTUIT FINANCING INC.
2700 COAST AVE
MOUNTAIN VIEW, CA 94043




INTUIT QUICKBOOKS
5601 HEADQUARTERS DR.
PLANO, TX 75024




JUSTMARC PROPERTY
HOLDINGS, LLC
1351 N. ZARAGOZA BLDG. H
EL PASO, TX 79936



KABBAGE FUNDING
925B PEACHTREE STREET NE SUITE 1688
ATLANTA, GA 30309




LOANBUILDER PAYPAL
3505 SILVERSIDE RD.
WILMINGTON, DE 19810




M & L PROPERTIES, LTD
C/O PINEDA MANAGEMENT COMPANY LLC
8908 MCCABE DRIVE
EL PASO, TX 79925
     23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 14 of 16


NATIONAL FUNDING, INC.
9820 TOWN CENTRE DRIVE
SAN DIEGO, CA 92121




NETWORK EPA, LLC
ATTN: JIM LUNDBLAD
2515 BOARDWALK STREET
SAN ANTONIO, TX 78217



PALO VERDE BUSINESS PARK,
LLC
1351 N. ZARAGOZA RD. BLDG. O
EL PASO, TX 79936



PAYPAL/SWIFT FINANCIAL
3505 SILVERSIDE ROAD SUITE 200
WILMINGTON, DE 19810




RUSHFAIR, LLC
PO BOX 55
EL PASO, TX 79940




SPARTAN BUSINESS
SOLUTIONS, LLC D/B/A
SPARTAN CAPITAL
371 E MAIN ST. SUITE 2
MIDDLETOWN, NY 10940


SPECTRUM BUSINESS
PO BOX 60074
CITY OF INDUSTRY, CA 91716-0074




STALLION COMMERCIAL
GROUP, LLC
11860 VISTA DEL SOL DRIVE SUITE 150
EL PASO, TX 77936
     23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 15 of 16


THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369




VELOCITY CAPITAL GROUP
333 PEARSALL AVE. SUITE 105
CEDARHURST, NY 11516




VIVA-CHAPARRAL
PROPERTIES, LLP
214 E. BALTIMORE DRIVE
EL PASO, TX 79902



VOX FUNDING
14 E. 44TH STREET 4TH FLOOR
NEW YORK, NY 10017




WEBBANK
215 S. STATE ST. SUITE 1000
SALT LAKE CITY, UT 84111




WEINSTEIN & WEINSTEIN,
LLP
ATTN: ISRAEL D. WEINSTEIN, ESQ.
420 CENTRAL AVENUE STE. 301
CEDARHURST, NY 11516


WHITE ROAD CAPITAL LLC
D/B/A GFE HOLDINGS
27-01 QUEENS PLAZA NORTH 802
LONG ISLAND CITY, NY 11101



MICHAEL WILLIAMS
431 EMERALD SHORE LANE
EL PASO, TX 79928
     23-30315-hcm Doc#1 Filed 03/31/23 Entered 03/31/23 15:12:05 Main Document Pg 16 of 16


ZAHAV ASSET MANAGEMENT
LLC
234 CEDARHURST AVE. APT. 21B
CEDARHURST, NY 11516
